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 readers not hired by Grace or by the Libby Claimants. To investigate the

. question whether the ATSDR readers agreed more often with Grace's Dr.

 Weill or with the CARD Clinic treating physicians in Libby, on the issue of .

 whether or not disease was present, a comparison study was performed.

 Results for the 59 patients, who are clients of McGarvey, Heberling, Sullivan

 & McGarvey, with reads by Dr. Weill, CARD and the ATSDR are tabulated on

 Exh. 19 attached. Results are summarized as follows:

         11         All agreed (Weill, CARD, ATSDR)
         26         ATSDR agreed with CARD
         16         ATSDR agreed with Weill
          2         form unreadable
         ....4      tie 1/1 (1 ATSDR reader agreed with each)
         59        total with ATSDR readings

The result is that where Grace's Dr. Weill and CARD disagreed, the ATSDR

agreed with the CARD Clinic doctors 62% of the time (26/42), and agreed

with Dr. Weill only 38% of the time (16142). Regarding the 16 where the

ATSDR agreed with Dr. Weill, followup chest x:rays' or CT scans as read by

independent radiologists confirmed the readings by the CARD Clinic doctors

on all 16 patients.

        71.        To compare CARD pulmonary function test (PFT) results to other

pulmonary labs in northwest Montana, a study was undertaken. Certain

patients who are clients of the law firm McGarvey, Heberling, Sullivan &

McGarvey had independent medical exams (IMEs) or defense medical

exams in the course of litigation. In Montana occupational disease cases,

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 the State of Montana arranges IMEs called "panel exams." In addition, the

 defending insurance company in a Montana occupational disease case may

 arrange a defense medical examination. Also certain patients had had

 defense exams arranged for by the Burlington Northern Santa Fe Railroad.

         All such IMEs were collected. IMEs with PFTs done within six months

 of a CARD PFT were selected: One was excluded as the hospital concluded

 it was a poor test. Comparison results are summarized on Exhibit 23 for the

 remaining 22 patients.

         The lung function test measures offorced vital capacity (FVC), total

 lung capacity (TLC) and diffusion capacity (DLCO) were chosenas they are

the three key indicators ot.severity in asbestos disease. Highest FVC before

or after bronchodilator was used. Individual tabulations and underlying PFT

records are attached on a CD titled "PFT Comparison Study 7/23/07." On

Exhibit 23, "Percent difference" means the extent to which the independent

pulmonary lab numbers were above or below the' results obtained by the

CARD Clinic. The average difference was -3.68%, meaning that the CARD

Clinic results were on the average about 3.68% higher than the independent

pulmonary labs in Kalispell and Missoula. The difference is within the

margin of error on IU'ng function tests. The higher results obtained by the

CARD Clinic lab may mean that technicians at the CARD Clinic were of

higher competency than were those in the independent laboratories.

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 J.       Other Observations

          72.      Blunting or obliteration of the costophrenic angle is a chest x-ray

 sign. The costophrenic angle is on the side of the chest x-ray at the lower

 end of the lung area. No pulmonologist would use blunting to determine a

 diagnosis of asbestos pleural disease. Nor would a practitioner use blunting

 to determine severity of asbestos pleural disease.

         ILO (2000) includes blunting in its scoring definition for diffuse pleural

 thickening. Cases with diffuse pleural thickening and no blunting fall out of

 the ILO (2000) scoring system and are called out as pleural plaques. This is

 a false result. Diffuse pleural thickening may be present in the lower;

 middle, and/or upper lung zones, whether or not there is blunting in the

distant costophrenic angle. ILO (2000) cites no medical literature in support

of its new classification for diffuse pleural thickening. No blunting

requirement appeared in the earlier version of the ILO Guidelines. Light and

Lee, Textbook of Pleural Diseases (2'· Ed. 2008), p.502, states that the ILO

(20001 scheme is "not of much value clinically" for pleural disease.

         In the CARD mortality study, of the patients who died of non-malignant

asbestos disease, only 57% (42/73) had blunting ofa costophrenic angle.

        Definitions of diffuse pleural thickening do not require blunting of the

costophrenic angle. ATS (2004), p.707, states "diffuse thickening of the

visceral pleura is not sharply demarcated ... (itl extends continuously over a
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 portion ofthe visceral pleura, often causing adhesions to the parietal pleura,

 involving fissures and obliterating the costophrenic angle." ATS (2004) does

 not include blunting in the diagnostic criteria for asbestos-related disease.

         Similarly, the Frazer and Pare text, p.2804, defines diffuse pleural

 thickening as "with or without obliteration of the costophrenic sulci (56, 57)."

 The Rosenstock text, p.369, describes diffuse pleural thickening as "may

 involve costophrenic sulcus." The ATSDR, Case Studies in Environmental

 Medicine, Asbestos Toxicity (2008), p.36, defines diffuse pleural thickening

 as "a non-circumscribed fibrous thickening of the visceral pleura with areas

 of adherence to the parietal pleura and obliteration of the pleural space."

 ATSDR (2008) does not include blunting olthe costophrenic angle in its

 defintion. McLoud (1985). p.14, studied 185 cases of diffuse pleural

thickening and found that costophrenic angle obliteration "was not a

consistent accompaniment of diffuse thickening." McLoud (1985), p.16,

states that blunting was often found where diffuSe pleural thickening was

.due to effusions, however, "it is rare when the appearance is due to

confluent pleural plaques" (which was 25% of the 185 cases). Lilis et al

(1986), in an analysis of 1,117 insulators found 23%. with measurable pleural

thickening and only 13% with blunting.

        Lilis et al (1991), abstract, states '1he obliteration of the costophrenic

angle(s), even with pleural fibrosis of limited extent, resulted in marked
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  decrement in FVC percentage predicted." No data are presented indicating

 the extent of correlation. In any event, FVC is the standard measure of

 severity, not blunting. There is no suggestion by the authors that blunting

 could ever be applied to individual patients as a measure of severity of

 impairment. Liliset al (1991) did not study lung function decrements in

 cases of pleural thickening without blunting, and presents no ·comment on

 severity of lung function impairment in cases without blunting. Moreover,

 Lilis (1991) only tests one ofthe three measures of severity of asbestos

 disease, FVC, TLC and DLCO. A paiient may have severe impairmentwith

 severe shortness of breath, and only one of FVC, TLC or DLCO is in the

 severe range. Generally, with pleural thickening there is no correlation

"between radiographic severity and longitudinal loss of lung function." Yates

et al (1996), p.305.

         73.     ILO (2000) includes a minimum requirement of 3mm thickness in

its scoring definition of "diffuse pleural thickening." There is no scientific

basis for a requirement of 3inm thickness to constitute "diffuse pleural

thickening." Without the 3mm minimum thickness, cases of pleural

thickening drop out of the ILO scoring system and are called pleural plaques.

This is a false result. The earlier version of the ILO Guidelines did not have a

3mm minimum requirement for pleural thickening.

        ATS (2004), Official Statement, p.707, notes that pleural thickening
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 "ranges in thickness from less than 1mm up to 1cm or more." No minimum

 thickness is required for the diagnosis of asbestos-re.lated disease under the

 ATS (2004) Official Statement diagnostic criteria.

         Nor is thickness of pleural thickening a measure of the severity of

 impairment. As noted in the letter by the President of the American

 Thoracic Society, "diffuse pleural scarring can be associated with greatly

 diminished FVC regardless of the extent or thickness of the scarring or its

 bilaterality." Exhibit 18. As noted, with pleural thickening there is no

 correlation "between radiographic severity and longitudinal loss of lung

function." Yates et al (1996), p.305. Thickness of pieural thickening was

included in the pleural scoring system tested in Yates et al (1996). The 3mm

requirement is contrary to standard practice in diagnosing asbestos pleural

disease and contrary to theATS (2004) criteria for diagnosis of asbestos-

related disease.

        In the CARD mortality study, 16% (11/68) of those'who died of non-

malignant asbestos disease had less than a 3mm thickness in pleural

thickening.

        The ILO (2000) requirement of 3mm minimum thickness to call out

pleural thickening is dysfunctional and has no relation to the practice of

medicine.

        74,     The National Institute for Occupational Safety and Health

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 certifies "B Readers" who have passed a test on selected chest x-rays which

 are characteristic of certain scoring levels in the ILO (2000) classification

 system. The ILO (2000) scoring system for chest x-rays and the B Reader

 certification is for research purposes. As noted in Light and Lee, Textbook

 of Pleural Diseases, p. 502, the ILO system "is useful for epidemiology

 purposes but not of much use clinically." As noted above, the ILO system of

 classification is never used for diagnosis, and is of no value in the

 classification of severity of impairment in a particular patient. Lung function

tests are the gold standard for measurement of functional impairment in

 individual patients. And, even lung function tests often do not correlate with

degree of shortness of breath or degree of hypoxia.

         The ILO classification system is not used in clinical practice in the

Northwest United States. The number of B Readers has declined of late.

There is nO B Reader in Montana.

K.      Grace/ACC Medical Criteria.

        75.      I. have reviewed the medical criteria in the Grace/ACC Plan of

Reorganization, Trust Distribution Procedures (TOP). The TDP category for

"Severe Disabling Pleural Disease", p.26, note 7, "restricts diffuse pleural

thickening to cases where there is associated blunting of the costophrenic

angle." The TDP requires a finding of blunting of the costophrenic angle,

before the patient is determined to have "diffuse pleural thickening." This is an
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  incorrect definition of "diffuse pleural thickening."

          Blunting or obliteration of the costophrenic angle is a chest x-ray sign.

  The costophrenic angle is on the side of the chest x-ray at the lower end of

  the lung area. No pulmonologist would use blunting to determine a

  diagnosis of asbestos pleural disease. Nor would a practitioner use blunting

  to determine severity of asbestos pleural disease.

          ILO (2000) includes blunting in its scoring definition for diffuse pleural

 .thickening. Cases with diffuse pleural thickening and no blunting fall out of

  the ILO (2000) scoring system and are called out as pleural plaques. This is

  a false result. Diffuse pleural thickening may be present in the lower, ..

 middle, and/or upper lung zones, whether or not there is blunting in the

 distant costophrenic angle. ILO (2000) cites no medical literature in support

 of its new classification for diffuse pleural thickening. No blunting

 requirement appeared in the earlier version of the ILO Guidelines. Light and

.. Lee, Textbook of Pleural Diseases (2'" Ed. 2008), p,502, states that the ILO

 (2000) scheme is "not of much value clinically" for pleural disease.

         In the CARD mortality study, of the patients who died of non-malignant

 asbestos disease, only 57% (38/66) had blunting of a costophrenicangle.

 Attached as Exhibit 17 is a letter dated February 9, 2005, titled "Preliminary

 Report of 79 chest x-rays reviewed relative to the Asbestos Injury Resolution

 Act of 2005." This study was done in response to a similar requirement of
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 blunting of the costophrenic angle in a draft of the asbestos bill. It is my

 understanding that this requirement was removed from the asbestos bill in the

 special provisions for Libby, as reported out of the Senate Judiciary

 Committee on May 26, 2005. As noted on the preliminary report in 2005, only

 22 of 79 (28%) patients had blunting of the costophrenic angle.

         Definitions of diffuse pleural thickening do not require blunting of the

 costophrenic angle. ATS (2004), p.707, states "diffuse thickening of the

 visceral pleura is not sharply demarcated ... (it) extends continuously over a

 portion of the visceral pleura, often causing adhesions to the parietal pleura,.

 involving fissures and obliterating the costophrenic angle." ATS (2004) does

 not include blunting in the diagnostic criteria for asbestos-related disease.

         Similarly, the Frazer and Pare text, p.2804, defines diffuse pleural

thICkening as "with or without obliteration of the costophrenic sulci (56, 57)."

TheBosenstock text, p.369, describes diffuse pleural thickening as "may

involve costophrenic sulcus." The ATSDR, Case Studies in Environmental

Medicine, Asbestos Toxicity (2008), p.36, defines diffuse pleural thickening

as "a non-circumscribed fibrous thickening of the visceral pleura with areas

of adherence to the parietal pleura and obliteration of the pleural space."

.ATSDR (2008) does not include blunting of the costophrenic angle in its

definition. McLoud (1985), p.14, studied 185 cases of diffuse pleural

thickening and found thatcostophrenic angle obliteration "was not a
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 consistent accompaniment of diffuse thickening." McLoud (1985), p.16,

 states that blunting was often found where diffuse pleural thickening was

 due to effusions, however, "it is rare when the appearance is due to

 confluent pleural plaques" (which was 25% of the 185 cases). Lilis et al

 (1986), in ananalysis of 1,117 insulators found 23% with measurable pleural

 thickening and only 13% with blunting.

         Lilis et al (1991), abstract, states "the obliteration of the costophrenic

 angle(s), even with pleural fibrosis of limited extent, resulted in marked

 decrement in FVC percentage predicted." No data ·are presented indicating

the extent of correlation. In any eve.nt, FVC is the standard measure of

severity, not blunting. There is no suggestion by the authors that blunting

could ever be applied to individual patients as a measure of severity of

impairment. Lilis et al (1991) did not study lung function decrements in

cases of pleural thickening without blunting, and presents no comment on··

severity of lung function impairment in cases without blunting. Moreover,

Lilis (1991) only tests one of the three measures of severity of asbestos

disease, FVC, TLC and ·DLCO. A patient may have severe impairment with

severe shortness of breath, and only one of FVC, TLC or DLCO is in the

severe range. Generally, with pleural thickening there is no correlation

"between radiographic severity and longitudinal loss of lung function." Yates

et al (1996), p.305.
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                                                      ,
          Blunting cannot be an element in the diagnosis of diffuse pleural

 thickening. Nor can blunting be a measure of severity of pleural disease.

 Lung function tests are the measure of severity of asbestos disease.

 Rosenstock text, p.370. Miles et al (2008), "Clinical consequences of asbestos-

 related diffuse pleural thickening, a review," p.6, states: "Few longitudinal

 studies exist, but these have found no correlation between radiographic

 severity and longitudinal loss of lung function." The use of blunting as a

 necessary condition to a diagnosis of diffuse pleural thickening is scientifically

arbitrary. Likewise, any use of blunting to determine severity of functional

impairment is scientifically arbitrary.

         76.     The Trust Distribution Procedures (TDP) category for "Severe

Disabling Pleural Disease," p.26, requires thickness of "at least width 'a'" for

diffuse pleural thickening. "Width 'a'" is defined "based on definitions as set

forth in the 2000 revision of the fLO classification." ILO (2000), p.7, defines

width 'a' as 3-5mm. The TDP requires a finding of thickness of width "a"

(3mm) before the patient is determined to have "diffuse pleural thickening."

This is an incorrect definition of "diffuse pleural thickening." No

pulmonologist would use a minimum 3mm thickness as a necessary

condition to a diagnosis of diffuse pleural thickening. No practitioner would

use a minimum 3mm thickness to determine severity of asbestos pleural

disease.

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          ILO (2000) provides a scoring system for chest x-rays for research

 purposes. Light and Lee, Textbook of Pleural Diseases (2"d Ed. 2008), p.502,

 states that the ILO (2000) scheme is "not of much value clinically" for pleural

 disease. ILO (2000) includes the minimum 3mm thickness in its scoring

 definition of diffuse pleural thickening (DPn. Cases with OPT and no 3mm

 thickness fall out of the ILO (2000) scoring system, and are called out as

 pleural plaques. This is a false result. ILO (2000) cites no medical literature

 in support of its new classification requiring the 3mm minimum. There was

 no minimum thickness in the earlier version of the ILO Guidelines. Width "a"

 was 0-5mm.

         In the CARD mortality study, of the patients who died of non-malignant

asbestos disease 84% (57/68) had the 3mm minimum thickness on chest x-

ray. This is consistent with the clinical observation that many patients have

died with thin diffuse pleural thickening, which is extensive. On CT scan,

more pleural thickening is' seen. Many more patients would qualify with the

3mm thickness if CT scans were used.

        Similarly, the measurements for the 2005 CARD study of 79 sets of

chest x-rays on living patients show that about 38% of the patients were

excluded by a requirement of a minimum 3mm thickness. Exh. 17.

        The ATS (2004) Official Statement diagnostic criteria for asbestos-

related disease includes no requirement of a minimum thickness for diffuse
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 pleural thickening. No diagnostic definition of diffuse pleural thickening

 includes a requirement of a minimum th'ickness. In fact, ATS (2004), Official

 Statement, p.707, notes that pleural thickening "ranges in thickness from less

 than 1mm up to 1cm or more."

         Nor is thickness of pleural thickening a measure of the severity of

 impairment. As noted in the letter by the President of the American

 Thoracic Society, "Diffuse pleural scarring can be associated with greatly

 diminished FVC regardless of the extent or thickness of the scarring or its

 bilaterality." Exh. 18. As noted above, with pleural thickening there is no

 correlation between "radiographic severity and longitudinal loss of lung

function." Yates et al (1996), p.305.

         The use of 3mm thickness as a necessary condition to diagnosis of

diffuse pleural thickening is scientifically arbitrary. Likewise, any use of the

3mm thickness to determine severity of functional impairment is

scientifically arbitrary.

        77.     The TDP category for "Severe Disabling Pleural Disease," p.26,

defines diffuse pleural thickening as "at least extent '2' ... based on

definition set forth in the 2000 revision of the ILO classification." ILO (2000),

p.7, states that extent "2 = total length exceeding one-quarter and up to one-

half of the projection of the lateral chest wall." The TDP requires a finding of

"extent> 25%" before the patient is determined to have "diffuse pleural
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 thickening." This is an incorrect definition of "diffuse pleural thickening.' No

 pulmonologist would use "extent> 25%" as a necessary condition to a

 diagnosis of diffuse pleural thickening. No practitioner would use "extent>

 25%" to determine functional severity of asbestos pleural disease.

         In the CARD mortality study, of the patients who died of non-malignant

 asbestos disease 20% (13/66) did not have extent of pleural thickening

 greater than 25% of the chest wall. This is consistent with clinical

 observation that many patients have died of pleural disease without the

 "extent> 25%," especially when observed only on a chest x-ray. Extent of

 pleural thickening is better seen on CT scan. Many more patients would

qU(llify with 'extent> 25%" if CT scans were used.

        The ATS (2004) Official Statement diagnostic criteria for asbestos-

related disease includes no requirement of "extent> 25%" for diagnosis of

diffuse" pleural thicken"ing. Nor is the extent of pleuralthickening a measure

of severity of impairment. As noted by the President of the American

Thoracic Society, "diffuse pleural scarring can be associated with greatly

diminished FVC regardless of the extent or thickness of the scarring or its

bilaterality." Exh. 18. As noted above, with pleural thickening there is no

correlation "between radiographic severity and longitudinal loss of lung

function." Yates et al (1996), p.305.

        The use of "extent> 25%" as a necessary condition to a finding of
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 diffuse pleural thickening·is scientifically arbitrary. Likewise, any use of

 "extent> 25%" to describe severity of.functional impairment is scientifically

 arbitrary.

          78.      The TDP excludes cases of unilateral disease. The TDP category

 for "Severe Disabling Pleural Disease" category requires that diffuse pleural

 thickening be "one component of a bilateral non-malignant asbestos-related

 disease." Most Libby patients who have unilateral disease later develop

 bilateral disease. In the CARD mortality study group of 76 non-malignant

 asbestos disease deaths, 1% (1/76) had unilateral disease. Exh. 7.

         Asbestos pleural disease may be unilateral and severe. The President

 of the American Thoracic Society states: "Diffuse pleural scarring can be

associated with greatly diminished FVC regardless of the extent or thickness

or scarring or its bilaterality." Exh. 18.

         Diffuse pleural thickening is often unilateral. A requirement in the TDP

excluding unilateral cases is scientifically arbitrary, as practicing physicians

may treat unilateral cases which are just as severe as bilateral cases.

         Miles et al (2008), "Clinical Consequences of Asbestos-Related Diffuse

Pleural Thickening: A Review:' p.5, states "Approximately one-third of cases

of DPT are unilateral." The Rosenstock text, p.369, states that pleural

thickening is "usually bilateral." The Fishman text, p.943, states that pleural

thickening can be "either bilateral or unilateral."
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